Case 2:17-cv-00152-MTP Document 57-3 Filed 10/17/18 Page 1 of 2

STATE OF MISSISSIPPI

COUNTY OF JONES

AFFIDAVIT _

Personally appeared before me the undersigned authority, in and for said county
and state, Joseph White, who after being duly sworn states on oath as follows:

1. 1, Joseph White, am of the age of majority and competent to testify about
the matters stated herein and make this affidavit having full personal knowledge of the
facts contained herein.

2. Lamcurrently employed by the Jones County Sheriff’s Department.

3. On December 14, 2016, I was involved in the pursuit of David Williams.
Mr. Williams had an arrest warrant for receiving stolen goods. We had been informed
Mr. Williams was carrying a 7mm Magnum Rifle and a large handgun during this time.
I along with Officer Jason Meyers spotted Mr. Williams driving a truck northbound on
Highway 15.

4, Officer Meyers and I initiated blue lights and sirens indicating to Plaintiff
to pull over, however he continued down the highway before pulling into an unknown
residence. Mr. Williams exited the car and began running away, whereby Officer
Meyers and I proceeded after Mr. Williams on foot.

5. I Tased Mr. Williams once for five (5) seconds to subdue him from
resisting arrest further, The Taser lines broke and Mr. Williams began to resist arrest

until he was finally placed in handcuffs.

Case 2:17-cv-00152-MTP Document 57-3 Filed 10/17/18 Page 2 of 2

6. Officer Jeff Monk did not arrive at the scene until after Mr. Williams was
subdued and placed under arrest.

7. I did not use excessive force on Mr. Williams at any point in time and
deny any allegations to the contrary.

Further, the Affiant saith not.

Billy @. Rayner, Cle cuiT.<C

|

wee
i u 1
“ t . -
tte = ry
fo.

1 A
My Commission Expires: (oy re fs s
Billy G. Rayner, CIRCUIT CLERK “Yh

ffeil}

